                                         Case 21-10213    Doc 32    Filed 02/10/21   Page 1 of 5


                          THE WEISS LAW GROUP, LLC
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                          Greenbelt, Maryland 20770
                          Telephone: (301) 924-4400
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                          brett@BankruptcyLawMaryland.com

                          Counsel to the Debtor and the Debtor-in-Possession


                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                    FOR THE DISTRICT OF MARYLAND


                           In re:
                                                                            Bankruptcy No. 21-1-0213 NVA
                           HOME SWEET HOME DD, INC.,
                                                                            Chapter 11
                                     Debtor.


                                                 APPLICATION TO EMPLOY ACCOUNTANT



                                    NOW COMES the Debtor, Home Sweet Home DD, Inc., by counsel The Weiss
                          Law Group, LLC and Brett Weiss, and applies to the Court for an Order authorizing the
                          employment of an accountant, and in support thereof states:
                                    1.      Home Sweet Home DD, Inc. (the “Debtor”) filed a voluntary petition under
                          Chapter 11 of the Bankruptcy Code on January 12, 2021. It has continued since that date as
                          Debtor in Possession of the estate.
                                    2.      The Debtor wishes to retain as its accountant Richard N. Colman, CPA from
                          the accounting firm DCC Accounting Services, Inc. (the “Accountant”), whose address is 2
                          Reservoir Circle, Suite 100, Baltimore, Maryland 21208.
                                    3.      Debtor has entered into a retainer agreement with the Accountant for
                          accounting services in connection with this Case, including the organization and structuring
                          of its bookkeeping, the filing of required statements and reports, tax documents and the like.
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                                      Case 21-10213     Doc 32    Filed 02/10/21     Page 2 of 5



                          Debtor desires to employ the Accountant, subject to review and approval of fees by the
                          Court, to assist Debtor with respect to the foregoing matters. A copy of the proposed
                          retainer is attached and incorporated herein as Exhibit #1.
                                 4.      The Accountant is experienced in accounting matters, and as evidenced by the
                          Affidavit of Richard N. Colman, CPA, attached and incorporated herein as Exhibit #2,
                          represents no interests adverse to those of the estate, apart from pre-petition fees in the
                          amount of $9,500.00, which is below the threshold allowed pursuant to 11 U.S.C. § 1195.
                          The Accountant has not shared or agreed to share the compensation in this case with any
                          person or entity not associated with the Accountant.
                                 Wherefore, Debtor prays for the entry of an Order approving the employment of
                          Richard N. Colman, CPA and the firm DCC Accounting Services, Inc. as accountant for
                          the Debtor, nunc pro tunc to the Petition Date, to be compensated in accordance with the
                          attached retainer agreement as approved by the Court.

                          February 10, 2021                                   Respectfully submitted,

                                                                              THE WEISS LAW GROUP, LLC


                                                                              By: ____/s/ Brett Weiss_____________
                                                                                  Brett Weiss

                                                             Certificate of Service

                                 I HEREBY CERTIFY that on the 10th day of February, 2021, I reviewed the
                          Court’s CM/ECF system and it reports that an electronic copy of the foregoing document
                          will be served electronically by the Court’s CM/ECF system on the following:

                          Monique D. Almy malmytrustee@crowell.com
                          Katherine A. (UST) Levin Katherine.A.Levin@usdoj.gov
                          Hunter C. Piel hpiel@piellawfirm.com
                          US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

                                 I hereby further certify that on the 10th day of February, 2021, a copy of the
                          foregoing document was also mailed first class mail, postage prepaid, to:

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 GREENBELT, MD 20770
     (301) 924–4400
                                                                         –2–
                                   Case 21-10213    Doc 32   Filed 02/10/21   Page 3 of 5


                          20 Largest Unsecured Creditors:

                          Anne Arundel County                          BANK OF AMERICA
                          Office of Finance                            PO BOX 982238
                          441 Calvert Street                           EL PASO, TX 79998-2238
                          Annapolis, MD 21401

                          Apex Financial Services, LLC
                          2 Reservoir Circle Suite 100                 _____/s/ Brett Weiss________________
                          Baltimore, MD 21208                          Brett Weiss




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                                                                   –3–
                                        Case 21-10213         Doc 32       Filed 02/10/21        Page 4 of 5



                              In the United States Bankruptcy Court for the District of Maryland

                                                                                     Bankruptcy No. 21-1-0213 NVA
                          In re:
                                                                                     Chapter 11
                          HOME SWEET HOME DD, INC.,
                                                                                     AFFIDAVIT OF RICHARD N.
                                                                                     COLMAN, CPA IN SUPPORT OF
                                   Debtor.
                                                                                     APPLICATION TO EMPLOY
                                                                                     ACCOUNTANT

                                   I, Richard N. Colman, CPA, declare and affirm under penalty of perjury, as follows:
                                   1.       I am a Certified Public Accountant and have an office at 2 Reservoir Circle,
                          Suite 100, Baltimore, Maryland 21208, as an employee of the accounting firm known as
                          DCC Accounting Services, Inc..
                                   3.       Both myself and my firm are experienced in accounting matters, and are
                          familiar with the Debtor’s financial affairs, having represented her and her businesses for a
                          number of years.
                                   4.       To the best of my knowledge, neither I, DCC Accounting Services, Inc., nor
                          any of its accountants, represent any interests adverse to those of the estate of the Debtor,
                          and we are considered to be disinterested under the provisions of 11 U.S.C. § 327(a).1
                          Neither DCC Accounting Services, Inc. nor I have any other known connections with the
                          Debtor (other than this and prior representation), any creditors or other party in interest,
                          their respective attorneys or accountants, the United States Trustee, or any person employed
                          in the office of the United States Trustee.
                                   5.       Pursuant to the retainer agreement attached to the Application for
                          Appointment of Accountant, we have agreed to represent Debtor at our normal hourly rates
                          as stated therein.



                          1
                           This case is filed under the provisions of the Small Business Relief Act, 11 U.S.C. §§ 1181 et seq. Pursuant to §
                          1195, “[A] person is not disqualified for employment under section 327 of this title, by a debtor solely because that
                          person holds a claim of less than $10,000 that arose prior to commencement of the case.” Mr. Colman’s firm holds a
                          claim of $9,500.00 against the Debtor that arose prior to commencement of the case.
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                                                                                   –4–
                                      Case 21-10213    Doc 32    Filed 02/10/21   Page 5 of 5



                                 6.      DCC Accounting Services, Inc. has not shared, or agreed to share, the
                          compensation to be paid by the Debtor with any other person or entity.
                                 7.      The firm of DCC Accounting Services, Inc. and I are willing to accept
                          employment by the Debtor with respect to this Case upon such compensation as may be
                          approved by the United States Bankruptcy Court for the District of Maryland.
                                 I declare under penalty of perjury that the foregoing is true and correct.


                                                                            _____/s/ Richard N. Colman, CPA______
                                                                            Richard N. Colman, CPA




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 GREENBELT, MD 20770
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